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11
12                          UNITED STATES DISTRICT COURT
13
                           CENTRAL DISTRICT OF CALIFORNIA

14
       Agrícola Cuyuma SA, and                       Case No. 2:17-cv-08220-DMG-SK
15     Corporación Agrícola Viñasol SAC,
                                                     JOINT EXHIBIT LIST
16                         Plaintiﬀs,
                                                     Judge: Hon. Dolly M. Gee
17     v.
                                                     Final Pretrial Conference: March 31,
18     Corona Seeds, Inc., and                       2020
       Crites Seed, Inc.,
19                                                   Trial Date: April 28, 2020
                           Defendants.
20
21          Pursuant to L.R. 16-6.1, Plaintiﬀs Agrícola Cuyuma SA and Corporación Agrícola
22   Viñasol SAC and Defendants Corona Seeds, Inc. and Crites Seed, Inc. hereby submit the
23   following Joint Exhibit List.
24
25
26
27
28
                                                 1
                                         JOINT EXHIBIT LIST
 Case 2:17-cv-08220-DMG-SK Document 105 Filed 03/10/20 Page 2 of 27 Page ID #:2461



 1                                   JOINT EXHIBIT LIST
 2
 3                 Ex.                                 Date Identiﬁed   Date Admited
           Party              Description
                   No.
 4
                         CUAV2026-2031 -
 5                       Two response letters
                         from Mr. Newman
 6         Ps’     1
                         regarding AVSA’s
 7                       demand and Cuyuma’s
                         complaint.
 8
                         CUAV105-108 - SGS
 9         Ps’     2     Tests, Germinations
                         and NGS
10
                         Four colored
11                       photographs of the seed
           Ps’     3
                         bags sold to Cuyuma by
12
                         Corona.
13                       CUAV109-113 - Four
           Ps’     4     colored photographs of
14
                         the Sapphire seeds
15                       COR004 - E-mail
                         thread from Mr.
16
           Ps’     7     Newman to Mr. de los
17                       Rios referencing Sugar
                         Daddy seed production
18
                         COR49-50 - E-mail
19         Ps’     8     thread from Mr. Cruz to
                         Mr. Newman
20
21                       COR154 - E-mail
                         thread from Mr.
22
           Ps’     10    Newman to Mr. Flores
23                       regarding import permit
                         for air shipment
24
                         COR147-149 - E-mail
25                       thread from Mr. Flores
           Ps’     11    to Mr. Newman
26
                         regarding issues with
27                       seeds
28
                                                   2
                                         JOINT EXHIBIT LIST
 Case 2:17-cv-08220-DMG-SK Document 105 Filed 03/10/20 Page 3 of 27 Page ID #:2462



 1                     E-mail thread regarding
                       delayed arrival of
 2         Ps’   12
                       shipment (Bates:
 3                     COR193).
                       E-mail thread from Mr.
 4
                       Cruz to Mr. Newman
 5                     regarding shipment of
           Ps’   13
                       Sapphire seeds to
 6
                       Cuyuma (Bates:
 7                     COR206-207).
                       E-mail thread from Mr.
 8
                       Cruz to Mr. Newman
 9                     and Mr. Johnson
           Ps’   14
                       regarding harvesting of
10
                       Sapphire seeds (Bates:
11                     COR209).
                       E-mail thread between
12
                       Mr. Flores, Mr.
13                     Newman, and Mr. Cruz
                       regarding 62%
14         Ps’   15
                       germination rate of
15                     Sapphire seeds from
                       Lot 606 (Bates:
16
                       COR241).
17                     E-mail thread from Mr.
                       Newman to Mr. Alban
18
                       regarding 62%
19         Ps’   16    germination rate of
                       seeds and losses
20
                       incurred (Bates:
21                     CUAV73).
                       E-mail thread between
22
                       Mr. Cruz, Mr. Newman
23                     and Mr. Johnson
           Ps’   17
                       regarding Lot 606 seeds
24
                       with hiram (Bates:
25                     COR213).
                       E-mail thread from Mr.
26
           Ps’   18    Flores to Mr. Newman
27                     and Mr. Cruz regarding

28
                                                 3
                                       JOINT EXHIBIT LIST
 Case 2:17-cv-08220-DMG-SK Document 105 Filed 03/10/20 Page 4 of 27 Page ID #:2463



 1                     delays in shipment of
                       seeds (Bates: COR218).
 2
                       E-mail thread between
 3                     Mr. Flores and Mr.
           Ps’   19    Newman regarding
 4
                       testing for Sapphire pea
 5                     seeds (Bates: COR221).
                       E-mail thread from Mr.
 6
                       Cruz to Mr. Newman
 7                     regarding shortage of
           Ps’   20
                       seeds and possibility of
 8
                       economic sanctions
 9                     (Bates: COR236).
                       E-mail thread between
10
                       Mr. Newman and Mr.
11                     Cruz regarding liability
           Ps’   21
                       with third-party
12
                       contracts (Bates:
13                     COR237).
                       E-mail thread between
14
                       Mr. Flores, Ms.
15                     Briseño, Mr. Newman,
           Ps’   22    Mr. Cruz, and Mr. de
16
                       los Rios regarding
17                     production delays
                       (Bates: COR267).
18
                       Corona’s Inventory
19                     Activity of Sapphire
           Ps’   23
                       Pea CRC242606
20
                       (Bates: COR285).
21                     SGS Inspection and
                       Sampling Report of Lot
22
           Ps’   24    606 Sapphire seeds
23                     (Bates: CUAV1508-
                       1509).
24
                       Reports of Seed
25                     Analysis from Euroﬁns
           Ds’   25
                       (Bates: CUAV2015-
26
                       2022).
27                     E-mail thread between
           Ps’   26
                       Mr. Johnson, Mr.
28
                                                  4
                                       JOINT EXHIBIT LIST
 Case 2:17-cv-08220-DMG-SK Document 105 Filed 03/10/20 Page 5 of 27 Page ID #:2464



 1                     Newman, Mr. Cruz,
                       and Mr. Maldonado
 2
                       regarding Sapphire pea
 3                     production (Bates:
                       CUAV2031-2039).
 4
                       E-mail thread between
 5                     Mr. Newman and Mr.
                       Johnson regarding
 6         Ps’   27
                       estimated delivery date
 7                     of Sapphire seeds
                       (Bates: CUAV2056).
 8
                       E-mail thread between
 9                     Mr. Newman and Mr.
           Ps’   28    Johnson regarding
10
                       Sapphire seed
11                     complaints.
                       E-mail thread between
12
                       Mr. Newman and Mr.
13                     Johnson regarding
           Ps’   29
                       treatments of Sapphire
14
                       seeds from Lot 606
15                     (Bates: CUAV2063).
                       Documents showing the
16
                       history of the ﬂow of
           Ps’   30
17                     Lot 606 Sapphires
                       (Bates: Crites 1-22).
18
                       Documents showing the
19                     history of the ﬂow of
           Ps’   31
                       the Lot 808 Sapphires
20
                       (Bates: Crites 23-45).
21                     Documents showing the
                       history of the Lot 500
22         Ps’   32
                       Sapphires (Bates: Crites
23                     46-68).
                       E-mail chain
24
           Ps’   33    mentioning 41% seed
25                     emergence rate.
                       E-mail chain Newman-
26
                       Johnson regarding the
           Ps’   34
27                     Seeds (Pythium
                       suppression)
28
                                                  5
                                       JOINT EXHIBIT LIST
 Case 2:17-cv-08220-DMG-SK Document 105 Filed 03/10/20 Page 6 of 27 Page ID #:2465



 1                     E-mail chain
                       Bielenberg-Stoddard-
 2         Ps’   35
                       Newman regarding the
 3                     Seeds.
                       Corona Invoice for
 4
                       Snap Peas, Sapphire,
 5         Ps’   37    Phytosanitary
                       Certiﬁcate, Certiﬁcate
 6
                       of Origin, etc.
 7                     Corona Invoice for
                       Snap Peas, Sapphire,
 8
                       Phytosanitary
           Ps’   38
 9                     Certiﬁcate, Certiﬁcate
                       of Origin, etc.
10
                       (Spanish).
11                     Spreadsheet of
                       kilograms harvested per
12
           Ps’   39    week, per variety, and
13                     per lot of Sapphire
                       seeds.
14
                       Report regarding claim
15                     on poor quality of the
                       Sapphire seed
16
                       purchased from Corona
           Ps’   40
17                     and the contamination
                       of other varieties; from
18
                       Mr. Alban to Mr.
19                     Newman.
                       Corona Invoice No.
20         Ps’   41
                       50809 billed to AVSA.
21                     Corona Invoice No.
           Ps’   42    180526 billed to AVSA
22
                       (Spanish).
23                     Corona Invoice No.
           Ps’   43
                       51258 billed to AVSA.
24
                       Map depicting ﬁelds
25         Ps’   44    where Sapphire seeds
                       were planted in 2016.
26
                       Map depicting ﬁelds
           Ps’   45
27                     where Sapphire seeds

28
                                                  6
                                       JOINT EXHIBIT LIST
 Case 2:17-cv-08220-DMG-SK Document 105 Filed 03/10/20 Page 7 of 27 Page ID #:2466



 1                     were planted (Bates:
                       CUAV1509).
 2
                       Map depicting ﬁelds
 3                     where Sapphire seeds
           Ps’   46
                       were planted (Bates:
 4
                       CUAV1508).
 5                     Map depicting ﬁelds
                       where Sapphire,
 6
           Ps’   47    Oregon, and Cascadia
 7                     seeds were planted
                       (Bates: CUAV1510).
 8
                       Map depicting ﬁelds
 9                     where Oregon,
           Ps’   48    Sapphire, and Cascadia
10
                       seeds were planted
11                     (Bates: CUAV1507).
                       Lot 8111 Identiﬁcation
12
                       Registration, Field
13                     History, Seed
           Ps’   49*
                       Registration, and
14
                       Harvest History (Bates:
15                     CUAV965-971).
                       Lot 8015 Identiﬁcation
16
           Ps’   50*   Registration (Bates:
17                     CUAV868).
                       Lot 8018 Identiﬁcation
18
           Ps’   51*   Registration (Bates:
19                     CUAV892).
                       Lot 8116 Identiﬁcation
20
           Ps’   52*   Registration (Bates:
21                     CUAV995).
                       Lot 8214 Identiﬁcation
22
           Ps’   53*   Registration (Bates:
23                     CUAV1059).
                       Lot 9001 Identiﬁcation
24
           Ps’   54*   Registration (Bates:
25                     CUAV1125).
                       CUAV1217-1218.
26
                       Identiﬁcation
           Ps’   55*
27                     Registration and Field
                       History for Lot 9103
28
                                                 7
                                       JOINT EXHIBIT LIST
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 1                     CUAV1387-1388.
                       Identiﬁcation
 2         Ps’   56*
                       Registration and Field
 3                     History for Lot 9411
                       CUAV1379-1380 -
 4
                       Identiﬁcation
           Ps’   57*
 5                     Registration and Field
                       History for Lot 9403
 6
                       Corona Sales Order.
           Ps’   58
 7                     Invoice No. 24695.
                       USDA Phytosanitary
 8         Ps’   59*
                       Certiﬁcate.
 9                     Calla Bamba, Peru
           Ps’   60*   Weather and Radar
10
                       Map.
11                     Calla Bamba, Peru
           Ps’   61*
                       Physical Map.
12
                       Sales Invoice for Snap
13                     Peas, Sapphire,
                       Phytosanitary
14         Ps’   62
                       Certiﬁcate, and
15                     Certiﬁcate of Origin.
                       Billed to Cuyuma.
16
                       CUAV1559 - SENASA
17                     test showing the
           Ps’   63    presence of
18
                       Stemphylium
19                     sarciniforme in plants
                       CUAV1560 - SENASA
20
                       test showing the
21         Ps’   64    presence of
                       Stemphylium
22
                       sarciniforme in plants.
23                     Map of cultivation area
           Ps’   65
                       in Huarmey.
24
                       Map of Vista Alegre
           Ps’   66*
25                     ﬁelds.
                       COR147-150 - E-mails
26
           Ps’   67    from Mr. Flores to Mr.
27                     Newman regarding
28
                                                 8
                                       JOINT EXHIBIT LIST
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 1                     issues with seeds and
                       delays in sowing.
 2
                       Projected disbursement
           Ps’   69
 3                     schedule for green peas.
                       Photographs of
 4         Ps’   70
                       Chimbote ﬁelds.
 5                     Sketch of Vista Alegre
           Ps’   71
                       ﬁelds.
 6
                       UNALM April 2015 -
           Ds’   72*
 7                     Huarmey soil test.
                       UNALM May 2015 -
 8         Ds’   73*
                       Soil test.
 9                     Soil analysis chart from
           Ps’   74*   UNALM in Vista
10
                       Alegre.
11                     2297-2314 - Cuyuma
12         Ps’   76    credit notes for 2016
                       sales
13                     Cuyuma Account Sales
14         Ps’   77    by Lot to Consolidated
                       Farms, Inc.
15                     E-mail from Northbay
16         Ds’   78*   to Cuyuma in which a
                       claim was made.
17               70    SGS analysis results
           Ps’
18               SGS   (Dep. Ex. 70).
                 71    SGS Portugal analysis
19         Ps’
                 SGS   report (Dep. Ex. 71).
20               72    Report from Mr.
           Ps’
                 SGS   Dulanto (Dep. Ex. 72).
21                     1653-1658 - Mr.
22               73    Dulanto’s Sampling
           Ps’
                 SGS   Certiﬁcate (Dep. Ex.
23                     73).
24               74    SGS report of seed
           Ps’
                 SGS   analysis (Dep. Ex. 74).
25                     Temperature graph of
                 75
26         Ps’         germination incubator
                 SGS
                       (Dep. Ex. 75).
27               76    Table with temperature
           Ps’
28               SGS   readings (Dep. Ex. 76).
                                                  9
                                       JOINT EXHIBIT LIST
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 1                     SGS germination test,
                       purity test, and
 2               77
          Ps’          nonstandard sprout
                 SGS
 3                     determination test (Dep.
                       Ex. 77).
 4

 5                     Documents showing
          Ps’    80*
                       domestic sales of peas.
 6
                       Documents showing
          Ps’    81*
 7                     domestic sales of peas.
                       Documents showing
 8        Ps’    82*
                       domestic sales of peas.
 9                     Cuyuma Invoice for
                       export sales of snow
10        Ps’    83*
                       peas and sugar snaps to
11                     Consolidated Farms.
                       Cost per hectare
12
                       breakdown for planting
          Ps’    84*
13                     snow peas/sugar snaps
                       in Huarmey.
14
                       Cuyuma Invoices to
          Ps’    85*
15                     Harvest Sensations.
                       Crystal Valley packing
16        Ps’    86*
                       list with shipment data.
17                     Bill of Lading showing
          Ps’    87*   shipment from Cuyuma
18
                       to Consolidated Farms.
19                     Table summarizing the
                       system that Cuyuma
20
          Ps’    88*   uses to determine how
21                     much seed is sent to
                       each ﬁeld.
22
                       Map of Chimbote Santa
          Ps’    89*
23                     River area.
24                     AVSA Summary of
          Ps’    91*
                       Damages.
25                     Record of export sales
          Ps’    92*
26                     of peas.
                       1125-1446 - AVSA
27        Ps’    93*
                       2016 ﬁeld reports.
28
                                                  10
                                       JOINT EXHIBIT LIST
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 1                     1659-2017 AVSA
          Ps’    100
                       Reports
 2
                       2018-2068 Crites-Cor
          Ps’    101
 3                     Email-Tests
                       Huarmey crop report
 4
                       for Lot C242606 –
          Ps’    102
 5                     Informe Cultivo de
                       Holantao. 2453-2464.
 6
                       2465-2682 Cuyuma
          Ps’    103
 7                     Comm w/Corona
                       2683 Cuyuma Export
 8        Ps’    104
                       Sales
 9                     2713-2765 Cuyuma
          Ps’    105
                       Analysis
10
                       2766-3008 Cuyuma
          Ps’    106
11                     Docs Re-Exports
12                     3009-3015 Cuyuma
          Ps’    107
                       Fields Maps
13                     3016-3038 Cuyuma
          Ps’    108
14                     National Sales
                       3039-3187 Cuyuma
15        Ps’    109
                       Sales and Claims
16        Ps’    110   3188 PeaSugBro
          Ps’    111   3189 PeaSapphire
17                     3190-3191
          Ps’    112
18                     ArvejasSpanish
                       3192-3193
19        Ps’    113
                       PeaBrochure10114
20                     3194-3196 Life
                       Expectancy of
21        Ps’    114   Vegetable Seeds _
22                     Horticulture and Home
                       Pest News
23                     3197-3259
          Ps’    115
24                     SeedLaw_2014
                       3260-4080 Cuyuma
25        Ps’    116
                       11.09.19
26                     4081-4455 AVSA
          Ps’    117
                       11.13.19
27                     4456-4513 AVSA
          Ps’    118
28                     12.02.19
                                               11
                                      JOINT EXHIBIT LIST
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 1                      4514 Peru Location
          Ps’    119
                        Maps
 2
 3                      11106 - VIDEO-INIA
          Ps’    120
                        Sampling.
 4
                        11107 - VIDEO-2019-
          Ps’    121
 5                      12-12-08-18-01.
                        11108 - VIDEO-2019-
 6        Ps’    122
                        12-12-08-21-04.
 7
 8                    4516-4586 Cowheard
          Ps’    124*
                      Expert Report
 9                    4592-4599 AVSA
10        Ps’    125* SUMMARY OF
                      DAMAGES
11                    4600-4607 FINAL
12        Ps’    126* SUMMARY OF
                      DAMAGES
13                    4608 LOST IN
          Ps’    127*
14                    REVENUES

15                      4609-4610 C-Flamingo,
          Ps’    128*
16                      NC 523
                        4611 C-Flamingo, NC
17        Ps’    129*
                        528,552,529,527
18                      4612 C-Flamingo, NC
          Ps’    130*
                        538,535,536
19                      4613-4614 C-Flamingo,
20        Ps’    131*   NC 543,544,545,548-
                        549,550-551,546,547
21                      4615 C- Nature Pride
          Ps’    132*
22                      FEX 1158
                        4616 C- Nature Pride
23        Ps’    133*
                        FEX 1173
24                      4617-4618 C- Nature
          Ps’    134*
                        Pride FEX 1173 - 2
25                      4619 C- Nature Pride
          Ps’    135*
26                      FEX 1244
                        4620-4621 C-Ayco
27        Ps’    136*
                        FEX 1148
28
                                                12
                                       JOINT EXHIBIT LIST
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 1                      4622 Certiﬁcate
          Ps’    137*
                        Inspection AYCO
 2
                        4623-4635 C-Ayco
          Ps’    138*
 3                      FEX 1152
                        4636 C-Ayco FEX
 4        Ps’    139*
                        1153
 5                      4637 C-Ayco FEX
          Ps’    140*
                        1157
 6
                        4638-4651 C-Ayco,
          Ps’    141*
 7                      Fex 1189
                        4652-4674 C-Ayco Fex
 8        Ps’    142*
                        1304
 9                      4675-4677 C-Ayco,
          Ps’    143*
                        FEX 1321
10
                        4678-4685 C-Ayco,
11        Ps’    144*
                        FEX 1337
12                      4686 C-Flamingo, NC
          Ps’    145*
                        528,552,529,527 ok
13                      4687-4688 C-Flamingo,
14        Ps’    146*   NC 543,544,545,548-
                        549,550-551,546,547
15                      4689-4690 C-Flamingo,
16                      NC 543,544,545,548-
          Ps’    147*
                        549,550-551,546,547
17                      ok
18                      4691 C-Nature Pride,
          Ps’    148*
                        NC FEX 1244
19                      4692-4693 Correo_
20        Ps’    149*   German Sotillo -
                        Outlook -1
21                      4694-4695 Correo_
22        Ps’    150*   German Sotillo -
                        Outlook
23                      4696 Cta Cte Ayco -
24        Ps’    151*   Notas de Crédito por
                        emitir 2
25                      4697 Cta Cte de Ayco -
26        Ps’    152*   Notas de credito por
                        emitir 1
27                      4698 Cta Cte Nature
          Ps’    153*
28                      Pride - NC por emitir
                                                 13
                                       JOINT EXHIBIT LIST
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 1                    4699 Cta Cte
          Ps’    154* Wismettac Foods - NC
 2
                      por emitir
 3
                        4700 Copy of Reclamos
 4
          Ps’    155*   sin emisión de Notas de
 5                      Crédito 2016
                        4701-4702 Credits
 6        Ps’    156*
                        Claimed - diﬀ format
 7                      4703-4704 Credits
          Ps’    157*
                        Claimed
 8
                        4705 Notas de Creědito
 9        Ps’    158*   no emitidas 2016
                        Reporte contable
10
                        4706 Reclamos sin
11        Ps’    159*   emisioěn de Notas de
                        Creědito 2016
12
                        4707 Reclamos sin
13        Ps’    160*   emisión de Notas de
                        Crédito 2016
14
                        4708-4744 Support for
          Ps’    161*
15                      Amount Paid - No CN
16
                        4745 NOTAS DE
17        Ps’    162*
                        CREDITO 2015
18                      4746-4764
          Ps’    163*
                        20191211100059821
19                      4765-4774
          Ps’    164*
20                      20191211100317967
                        4775-4795
21        Ps’    165*
                        20191211101203875
22                      4796 -
          Ps’    166*
                        20191211103255805
23                      4797-4813 NOTA DE
          Ps’    167*
24                      DEBITO AYCO 2015

25                    4814 Detalle de
26        Ps’    168* facturas y notas de
                      credito 3%
27
28
                                                  14
                                        JOINT EXHIBIT LIST
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 1                    4815-4846 Facturas,
          Ps’    169* Notas de Crédito y
 2
                      Liquidación 2017
 3                    4847-4883 Facturas,
          Ps’    170* Notas de Crédito y
 4
                      Liquidación 2015
 5                    4884-4892 Facturas,
          Ps’    171* Notas de Crédito y
 6
                      Liquidación 2014
 7                    4893 DETALLE DE
          Ps’    172* PAGOS FLAMINGO
 8
                      2016
 9                    4894-4898
                      CONSTANCIA DE
10        Ps’    173*
                      PAGOS -FLAMINGO
11                    2016
                      4899-4901 HOJA DE
12        Ps’    174*
                      CALCULO 2015-2017
13
                        4902-4903
14
                        FLAMINGO
          Ps’    175*
15                      (UK)NOTA DE
                        CREDITO N°523
16
                        4904-4908
17                      FLAMINGO (UK)LTD
          Ps’    176*
                        NOTA DE CREDITO
18
                        N°528
19                      4909-4910
          Ps’    177*   FLAMINGO NOTA
20
                        DE CREDITO N° 527
21                      4911-4914
          Ps’    178*   ﬂamingo(uk)n. de
22
                        c.n°529
23                      4915-4916
                        FLAMINGO (UK)LTD
24        Ps’    179*
                        NOTA DE CREDITO
25                      N°535
                        4917-4919
26
          Ps’    180*   FLAMINGO
27                      PRODUCE LTD
28
                                            15
                                    JOINT EXHIBIT LIST
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 1                      NOTA DE CREDITO
                        N°538
 2
                        4920-4921
 3                      FLAMINGO (UK)LTD
          Ps’    181*
                        NOTA DE CREDITO
 4
                        552
 5                      4922-4924
                        FLAMINGO
 6        Ps’    182*
                        PRODUCE NOTA DE
 7                      CREDITO N°536
                        4925-4929
 8
                        FLAMINGO
          Ps’    183*
 9                      PRODUCE NOTA DE
                        CREDITO N°543
10
                        4930-4935
11                      FLAMINGO
          Ps’    184*
                        PRODUCE NOTA DE
12
                        CREDITO N°544
13                      4936-4939
                        FLAMINGO
14
          Ps’    185*   PRODUCE LTD
15                      NOTA DE CREDITO
                        N°545
16
                        4940-4942
17        Ps’    186*   FLAMINGO NOTA
                        DE CREDITO N° 546
18
                        4943-4945
19        Ps’    187*   FLAMINGO NOTA
                        DE CREDITO N° 547
20
                        4946-4949
21                      FLAMINGO
          Ps’    188*   PRODUCE LTD
22
                        NOTA DE CREDITO
23                      N°548
                        4950-4955
24
                        FLAMINGO
25        Ps’    189*   PRODUCE LTD
                        NOTA DE CREDITO
26
                        N°549
27                      4956-4961
          Ps’    190*
                        FLAMINGO
28
                                            16
                                    JOINT EXHIBIT LIST
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 1                      PRODUCE LTD
                        NOTA D CREDITO
 2
                        N°550
 3                      4962-4967
                        FLAMINGO
 4
          Ps’    191*   PRODUCE LTD
 5                      NOTA DE CREDITO
                        N°551
 6
                        4968-4969 NATURES
 7        Ps’    192*   PRIDE NOTA DE
                        CREDITO N° 519
 8
                        4970-4973 NATURES
 9        Ps’    193*   PRIDE NOTA DE
                        CREDITO N°532
10
                        4974-4976 NATURES
11        Ps’    194*   PRIDE NOTA DE
                        CREDITO N°537
12
                        4977-4981
13                      WISMETTAC FOODS
          Ps’    195*
                        NOTA DE CREDITO
14
                        N°524
15
                        4982-4984 Agreement
16        Ps’    196*
                        AVSA - AYCO 2014
17                      4985-4988 Agreement
          Ps’    197*
                        AVSA - AYCO 2015
18
                        4989-4992 Agreement
          Ps’    198*
19                      AVSA - AYCO 2016
                        4993-4994 Agreement
20
                        AVSA - FLAMINGO
          Ps’    199*
21                      2014 (ANTES
                        FINLAYS)
22
                        4995-4996 Agreement
23        Ps’    200*   AVSA - FLAMINGO
                        2015
24
                        4997-4998 Agreement
25        Ps’    201*   AVSA - FLAMINGO
                        2016
26
                        4999-5012 Agreement
27        Ps’    202*   AVSA - FLAMINGO
                        2017
28
                                              17
                                      JOINT EXHIBIT LIST
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 1                    5013-5028 Agreement
          Ps’    203* AVSA - FLAMINGO
 2
                      2018
 3                    5029-5034 Agreement
          Ps’    204* AVSA - NATURES
 4
                      PRIDE 2014
 5                    5035-5040 Agreement
          Ps’    205* AVSA - NATURES
 6
                      PRIDE 2015
 7                    5041-5046 Agreement
          Ps’    206* AVSA - NATURES
 8
                      PRIDE 2016
 9
                        5047-5166 COSTOS
10        Ps’    207*
                        CAMPO 2016
11                      5167-5187 COSTOS
          Ps’    208*   MAQUILA Y
12
                        CAMPO 2014 2018 (1)
13                      5188-5201 COSTOS
          Ps’    209*   MAQUILA Y
14
                        CAMPO 2014 2018
15                      5202-5216
          Ps’    210*   PRESUPUESTO
16
                        CAMPO 2014 2018
17                      5217-5218 Proy. Planta
          Ps’    211*
                        Holantao 2014-2019
18
                        5219 RESUMEN DE
19                      COSTOS Y
          Ps’    212*
                        PROYECCIONES
20
                        UNITARIOS 2016
21
22                    7867-7873 Acuerdo
                      Marco de
23        Ps’    213* Reconocimiento y pago
24                    obligaciones -Fondo de
                      Inversión COMEX
25                    7874-7887 Anticipos de
          Ps’    214*
26                    Clientes del Exterior
                      7888-7897 BAN BIF
27        Ps’    215*
                      LEASING
28
                                                 18
                                       JOINT EXHIBIT LIST
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 1                      7898-7907 BAN BIF
          Ps’    216*
                        PRESTAMO
 2
                        7908-7913 Cancelación
 3                      de letras de SAVAR
          Ps’    217*
                        por COOPERATIVA
 4
                        PACIFICO
 5                      7914-7917 Convenio de
                        Reconocimiento de
 6
          Ps’    218*   obligaciones y
 7                      condonación de saldo
                        de deuda BANBIF
 8
                        7918-7919 correo ban
          Ps’    219*
 9                      bif infocorp
                        7920-7921
10
                        CRONOGRAMA DE
          Ps’    220*
11                      COOPERATIVA
                        PACIFICO
12
                        7922 Cronograma de
          Ps’    221*
13                      Root Capital
                        7923 Desembolso de
14
          Ps’    222*   prestamo de Coop.
15                      Paciﬁco - Enero 2018
                        7930-7962 Facturas por
16        Ps’    223*
                        Intereses
17                      7963-7964 Gastos de
          Ps’    224*
                        Fideicomisos
18
                        7978-7985 LEASING
19        Ps’    225*   REFRIGERADO BAN
                        BIF
20
                        7986-8002 Notiﬁcacion
          Ps’    226*
21                      judicial Savar
22                      8003 ROOT CAPITAL
          Ps’    227*   Prestamo de $ 300,000
23                      - Agost 2013
24                      8004 ROOT CAPITAL
          Ps’    228*   Prestamo de $ 700,000
25                      - Julio 2013
26                      8005-8021 SAVAR -
          Ps’    229*
                        letras
27                      8022-8024 Transaccion
          Ps’    230*
28                      Extra judicial y pago
                                                 19
                                       JOINT EXHIBIT LIST
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 1                      Savar con fondos de
                        cooperativa Paciﬁco
 2
                        con extra judicial
 3
                      8025-8038 COSTOS
 4
          Ps’    231* MAQUILA Y
 5                    CAMPO 2014 2018
                      8039-8040 Proy. Planta
 6        Ps’    232*
                      Holantao 2014-2019
 7
          Ps’    233* 8041 BERNALES 2017
 8
                      8042 CABEZA TORO
 9        Ps’    234*
                      2017
10                    8043 CAMPOS ASIA
          Ps’    235*
                      2018
11        Ps’    236* 8044 CAÑETE 2017
12                    8045-8048 CODIGO
          Ps’    237*
                      DE LOTES
13                    8049-8052 CODIGOS
          Ps’    238*
14                    CAMPOS PISCO
                      8053
15        Ps’    239* INDEPENDENCIA
16                    2017

17                    8073-8364 Reports
          Ps’    240*
18                    2016 AVSA
                      8365-8415 REPORTE
19        Ps’    241* DE PROCESO 2014 -
20                    2018 FINAL
                      8416-8453 REPORTE
21        Ps’    242* DE PROCESO 2014-
22                    2018

23                    8523-8575 Registro de
24                    Ventas de
          Ps’    243*
                      Exportaciones Holantao
25                    - 2016
26                    8576-9055 AVSA 2016
          Ps’    245*
                      Export Invoices
27                    9056-9058 HOJA DE
          Ps’    246*
28                    CALCULO 2015-2017
                                               20
                                       JOINT EXHIBIT LIST
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 1                      9059-9064 CAJAS
          Ps’    247*
                        EXPORTADAS
 2
                        9065 DETALLE DE
 3        Ps’    248*   PAGOS FLAMINGO
                        2016
 4
                        9066-9128
          Ps’    249*
 5                      FACTURAS 2015 -1
                        9129-9214
 6        Ps’    250*
                        FACTURAS 2015 -2
 7                      9215-9235
                        FACTURAS AYCO
 8        Ps’    251*
                        2015 FOB MAYOR A
 9                      15 USD
                        9236-9242 PRECIOS
10
          Ps’    252*   CLIENTES FOB $20,
11                      IDS
12
                        9243-9298 CRYSTAL
          Ps’    253*
13                      credit notes
14                      9299-9304 DELICA
          Ps’    254*
                        credit notes
15                      9305-9326 HARVEST
          Ps’    255*
16                      credit notes
                        9327-9458 NORTH
17        Ps’    256*
                        BAY credit notes
18                      9459-9512
          Ps’    257*   SOBIFRUITS credit
19                      notes
20
                      9513 RESUMEN DE
21        Ps’    258*
                      VENTAS EXT. 2016
22                    9514-9536
          Ps’    259* CONTRATO NORTH
23                    BAY PRODUCE, INC
24                    9537-9552
          Ps’    260* CONTRATO
25                    SOBIFRUITS S.A.
26                    9553-9569
          Ps’    261* SOBIFRUITS -
27                    CONTRATO 2016
28
                                            21
                                    JOINT EXHIBIT LIST
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 1                    9570-9577
          Ps’    262* SOBIFRUITS -
 2
                      CONTRATO 2017
 3                    9578-9592
          Ps’    263* SOBIFRUITS - MEMO
 4
                      2018
 5
                        9593-9600 Cuyuma
 6        Ps’    264*
                        Damage Report
 7
                        9604-9615 ANALISIS
 8        Ps’    265*
                        SEMILLA
 9                      9623-9626 INIA
          Ps’    266*
                        RESULTADOS
10
                        9627-9631 SALIDAS
11        Ps’    267*   SEMILLAS
12                      CASCADIA 2016
                        9632-9636 SALIDAS
13        Ps’    268*   SEMILLAS OREGON
14                      2016
                        9637-9672 Cuyuma
15        Ps’    269*
                        Seed Import
16
                      9673-9676 Documentos
17                    de uso de agroquimicos
18        Ps’    270* fertilizantes y labores
                      FVAH Camp 2016-
19                    Costos y actividades
20                    9677-9680 Documentos
                      de uso de agroquimicos
21        Ps’    271* fertilizantes y labores
22                    FVAH Camp 2016-
                      Programa siembra
23                    9681-9692 INFORME
24        Ps’    272* CULTIVO
                      HOLANTAO 2016
25
26                    9694-9695 Estado de
          Ps’    273*
                      Resultados 2015
27                    9696-9697 Estado de
          Ps’    274*
28                    Resultados 2016
                                                22
                                      JOINT EXHIBIT LIST
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 1                    9698-9699 Estado de
          Ps’    275*
                      Resultados 2017
 2
                      9700-9701 Estado de
          Ps’    276*
 3                    Resultados 2018
 4
                      9840-9844 COSECHA
          Ps’    277*
 5                    DE HOLANTAO 2016
                      9845 COSECHA DE
 6
                      HOLANTAO
          Ps’    278*
 7                    HUARMEY -
                      INCOMPLETE
 8
                      9846-9847 COSECHA
 9        Ps’    279* DE HOLANTAO-
                      CHIMBOTE copia
10
          Ps’    280* 9848-9849 Cuyu Lots
11
12                      9868-9968 CRYSTAL
          Ps’    281*
                        sales
13                      9969-10022 DELICA
          Ps’    282*
14                      sales
                        10023-10029
15        Ps’    283*
                        HARVEST sales
16                      10030-10092 NORTH
          Ps’    284*
                        BAY sales
17                      10093-10147
          Ps’    285
18                      SOBIFRUITS sales
                        10148 RESUMEN DE
19        Ps’    286*
                        VENTAS EXT. 2016
20                      10149-10150 VTA
          Ps’    287*
                        NACIONAL
21                      10151-10152 Data Sist
          Ps’    288*
22                      Expo Arveja 2016
                        10163-10443 Corona
23        Ps’    289*   Communications 001 -
24                      281
                        10454 Peru Location
25        Ps’    290
                        Maps
26
                        Transcript of deposition
27        Ds’    291
                        testimony of Dale Rush
28
                                                   23
                                        JOINT EXHIBIT LIST
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 1                     Dale Rush reliance
          Ds     292
                       materials
 2
                       Transcript of deposition
 3        Ds     293   testimony of David
                       Kelley
 4
                       David Kelley reliance
          Ds     294
 5                     materials
                       Transcript of deposition
 6
          Ds     295   testimony of Ann
 7                     McDermott
                       Ann McDermott
 8        Ds     296
                       reliance materials
 9                     Transcript of deposition
          Ds     297   testimony of Steve
10
                       Koike
11                     Steve Koike reliance
          Ds     298
                       materials
12
                       Transcript of deposition
13        Ds     299   testimony of Steve
                       Koike
14
                       Steve Koike reliance
          Ds     300
15                     materials
16                     Demonstrative exhibit
          Ds     301
                       (reserved)
17                     Demonstrative exhibit
          Ds     302
18                     (reserved)
                       Demonstrative exhibit
19        Ds     303
                       (reserved)
20                     Demonstrative exhibit
          Ds     304
                       (reserved)
21                     Demonstrative exhibit
          Ds     305
22                     (reserved)

23                     Transcript of deposition
24        Ps     330   testimony of Oscar
                       Alvan.
25                     Transcript of deposition
26        Ps     331   of Guillermo de los
                       Rios.
27
28
                                                  24
                                       JOINT EXHIBIT LIST
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 1                     Transcript of deposition
          Ps     332   testimony of Angello
 2
                       Flores Vol. I
 3                     Transcript of deposition
          Ps     333   testimony of Angello
 4
                       Flores Vol. II
 5                     Transcript of deposition
          Ps     334   testimony of Erick
 6
                       Sanchez.
 7                     Transcript of deposition
          Ps     335   testimony of Edwin
 8
                       Maldonado.
 9                     Transcript of deposition
          Ps     336   testimony of Mike
10
                       Newman.
11                     Transcript of deposition
          Ps     337   testimony of Andy
12
                       Johnson.
13                     Transcript of the
          Ps     338
                       Deposition of SGS.
14
                       COR360 - Corona’s
15        Ps     339   Iowa State University
                       tests
16
                       COR361-62 - Corona’s
          Ps     340
17                     Ramson Test
                       CUAV66 - UNALM
18        Ps     341
                       tests
19        Ps     342   CUAV65 - INIA tests.
20        Ps     343   CUAV70 - INIA tests.
                       CUAV1516-27 - Dr.
21        Ps     344
                       Mattos Calderon report.
22                     CUAV69 - SENASA
          Ps     345
                       tests.
23                     CUAV68 - SENASA
          Ps     346
24                     tests.
                       CUAV61528-29 -
25        Ps     347
                       SENASA tests.
26                     CUAV61530-31 -
          Ps     348
                       SENASA tests.
27                     CUAV1513 - INIA
          Ps     349
28                     tests.
                                                  25
                                       JOINT EXHIBIT LIST
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 1                     CUAV1552-60 – Matos
          Ps     350
                       Report.
 2
                       Demonstrative exhibit
          Ps     360
 3                     (reserved)
                       Demonstrative exhibit
 4        Ps     361
                       (reserved)
 5                     Demonstrative exhibit
          Ps     362
                       (reserved)
 6
                       Demonstrative exhibit
          Ps     363
 7                     (reserved)
                       Arveja, Pudricion
 8        Ds     364
                       Radicular
 9        Ds     365   Arvejo, Cultivo
10        Ds     366   ManchaCafeAGExport

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                                     JOINT EXHIBIT LIST
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 1   Dated: March 10, 2020
 2
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10                                        s/Lisa Taylor
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11                                        Counsel for Defendant Crites Seed, Inc.
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                                   JOINT EXHIBIT LIST
